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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 DOMINIQUE WATSON,

                        Plaintiff,

        v.                                              Civil Action No. 23-1670 (BAH)

 DISTRICT OF COLUMBIA,

                        Defendant.


 DISTRICT OF COLUMBIA,

                        Third Party Plaintiff,

        v.

 UNITED STATES OF AMERICA, et al.,

                        Third Party Defendants.


 THIRD-PARTY DEFENDANT UNITED STATES’ UNOPPOSED MOTION FOR AN
EXTENSION OF TIME TO FILE AN OPPOSITION TO THIRD-PARTY DEFENDANT
 UNITY HEALTHCARE, INC.’S MOTION TO SUBSTITUTE THE UNITED STATES

       Third-Party Defendant, the United States of America, respectfully requests an extension of

time—until November 1, 2024—to file a memorandum in opposition to the motion to substitute

the United States as a party defendant that was filed by Third-Party Defendant Unity Healthcare,

Inc. (“Unity”). See ECF No. 64. Plaintiff Dominique Watson does not oppose this extension of

time, and both the District of Columbia and Unity consent to this extension.

       In support of this motion, the United States states as follows:

       1.       This case currently involves tort claims that Plaintiff Dominique Watson asserts

against Defendant District of Columbia in connection with the suicide of Giovanni Love in the

District of Columbia jail. The District of Columbia, in turn, has asserted a third-party claim of
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contribution against the United States (Count I) and a claim of contractual indemnity against Unity

(Count II), in the event that the District of Columbia is found liable.

       2.       On September 20, 2024, Unity filed a motion to [1] substitute the United States in

its place as the party defendant with respect to the District of Columbia’s third-party claim of

contractual indemnity asserted against Unity Healthcare (Count II), or [2] in the alternative, to

dismiss the District of Columbia’s claim against it. See ECF No. 64.

       3.       Third-Party Defendant United States opposes Third-Party Defendant Unity’s

motion to substitute the United States, and the current deadline for the United States to file its

opposition to Unity’s motion is October 4, 2024.

       4.       The United States respectfully requests an extension of time—until November 1,

2024—to file its memorandum in opposition to Unity’s motion.

       5.       There is good cause to grant this extension request. As undersigned counsel for the

United States explained to counsel for the parties, she seeks this extension in light of her case

schedule in the coming month, which includes, among other deadlines and obligations, an

appellate brief, at least two summary judgment motions, a memorandum in opposition to a motion

for preliminary injunction, and multiple motions to dismiss and replies.

       6.       This is the first extension that the United States has requested for the deadline to

respond to Unity’s motion. As the District of Columbia intends to seek the same extension of time

to file its opposition to Unity’s motion, the extension requested by the United States will not affect

any other deadlines in this case.

       7.       Pursuant to Local Rule 7(m), the undersigned counsel for the United States

conferred with counsel for the parties. Plaintiff does not oppose this request for extension of time,

and both the District of Columbia and Unity consent to this extension.




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       8.       The undersigned counsel fully acknowledges the Court’s Standing Order that all

motions for extension of time must be filed at least four business days prior to any deadline. The

undersigned counsel is now filing this motion to extend three calendar days prior to the deadline

and apologizes for non-compliance with the four-day requirement and requests that the Court

excuse the United States’ non-compliance. Undersigned counsel for the United States needed to

confer with agency counsel and take the time to determine the amount of time required in light of

her case schedule. Undersigned counsel apologizes for any inconvenience to the Court caused by

the filing of this extension motion three days prior to the current deadline.

       9.       For the foregoing reasons, Third-Party Defendant United States respectfully

requests that the Court grant this motion and allow it to file an opposition to Third-Party Defendant

Unity’s motion to substitute on or before November 1, 2024. A proposed Order has been filed with

this motion.


Dated: October 1, 2024
       Washington, DC                         Respectfully submitted,

                                              MATTHEW M. GRAVES, D.C. Bar #481052
                                              United States Attorney

                                              BRIAN P. HUDAK
                                              Chief, Civil Division

                                              By: /s/ Christina O’Tousa
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 DOMINIQUE WATSON,

                         Plaintiff,

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 DISTRICT OF COLUMBIA,

                         Defendant.


 DISTRICT OF COLUMBIA,

                         Third Party Plaintiff,

         v.

 UNITED STATES OF AMERICA, et al.,

                         Third Party Defendants.


                                      [PROPOSED] ORDER

       Upon consideration of Third-Party Defendant United States’ Unopposed Motion for an

Extension of Time to File an Opposition to Third-Party Defendant Unity Healthcare, Inc.’s Motion

to Substitute the United States, and the entire record herein, it is

       ORDERED that the motion is GRANTED; and it is further

       ORDERED that the United States shall have until November 1, 2024, to file a response to

Unity Healthcare, Inc.’s Motion to Substitute the United States.

       SO ORDERED this _______ day of _________________, 2024.



                                       ____________________________________________
                                             BERYL A. HOWELL
                                             UNITED STATES DISTRICT JUDGE
